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10                            UNITED STATES DISTRICT COURT
11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12    UNITED STATES OF AMERICA,                   No. CR 13-106(A)-DOC

13               Plaintiff,                       UNITED STATES’ SECOND SUBMISSION
                                                  IN OPPOSITION TO DEFENDANT’S
14                     v.                         SECOND MOTION FOR A NEW TRIAL

15   MONGOL NATION,                               Date: October 6, 2022
       An unincorporated association,             Time: 3:00 p.m.
16                                                Location:    Courtroom of the
                 Defendant.                                 Hon. David O. Carter
17

18

19         Plaintiff United States of America, by and through its counsel
20    of record, the United States Attorney for the Central District of
21    California and Assistant United States Attorney Christopher Brunwin,
22    hereby files its Second Submission in Opposition to Defendant’s
23    Second Motion for a New Trial.
24

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1          This Opposition is based upon the attached memorandum of points

2     and authorities, the files and records in this case, and such further

3     evidence and argument as the Court may permit.

4      Dated: September 22, 2022           Respectfully submitted,

5                                          E. MARTIN ESTRADA
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7                                          Assistant United States Attorney
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9                                            /s/Christopher Brunwin
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1
                            MEMORANDUM OF POINTS AND AUTHORITIES
2
      I.    INTRODUCTION
3
            Years after the jury convicted defendant Mongol Nation of
4
      racketeering and racketeering conspiracy, defendant moved for a new
5
      trial, claiming that its national president, David Santillan
6
      (“Santillan”), had been a confidential informant who disclosed
7
      defendant’s trial strategy to the government during the 2018 trial.
8
      Days of testimony from numerous witnesses have proven defendant’s
9
      claim to be untrue.     There is not a single witness or piece of
10
      evidence that supports defendant’s claim.         Because this is
11
      defendant’s only claim, now proven to be wholly without merit, its
12
      motion for a new trial must be denied.
13
      II.   RELEVANT LAW
14
            A motion for new trial requires the defendant to show: (1)
15
      evidence that is newly discovered; (2) failure to discover the
16
      evidence sooner was not due to a lack of diligence; (3) the evidence
17
      was material to trial issues; (4) the evidence was not cumulative or
18
      merely impeaching; and (5) a new trial would probably result in an
19
      acquittal.
20
            Here, defendant did not, and cannot, point to any newly
21
      discovered evidence, because its claims about Santillan were not
22
      true, and its attempts to elicit testimony about the Mexican Mafia or
23
      arguments within the defense group did not change that.           Moreover,
24
      there was no showing, or even argument, that a new trial would result
25
      in an acquittal.     That element is significant here, because the jury
26
      verdicts in this case were supported by weeks of testimony, exhibits
27
      and videos showing endless crimes -- murders, shootings, stabbings,
28

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1     scalping, riots, narcotics transactions, and attacks on law

2     enforcement, as well as the rewards for those crimes, including the

3     skull and crossbones patch for committing murder on behalf of the

4     gang.     Without question, a new trial in this case would include even

5     more of those crimes –- more assaults, more murders, and more riots,

6     because there are more, many more.

7          Defendant brought its Motion without support and based on claims

8     that were not true.     It does not establish any basis for a new trial,

9     and it must now be denied.
10    III. BACKGROUND
11         A.     Procedural Background

12         The background for this case is set forth in the United States’

13    Trial Brief and Opposition to Defendant’s Motion for Judgment of

14    Acquittal.    CR 186, 363.    In sum, the Ninth Circuit remanded the

15    matter on July 11, 2017, after the Court dismissed the original

16    indictment on September 16, 2015.         CR 114, 127, 128.    The Grand Jury

17    returned the First Superseding Indictment on May 17, 2018.            See First

18    Superseding Indictment (CR 169).

19         The First Superseding Indictment charged defendant with

20    racketeering in violation of Title 18 of the United States Code,

21    Section 1962(c), and conspiracy to commit racketeering offenses in

22    violation of Title 18 of the United States Code, Section 1962(d).

23    The FSI also included forfeiture allegations.         Id.

24         B.     Trial

25         Trial began on October 30, 2018, and continued through December

26    13, 2018, when the jury convicted defendant on both counts, which

27    charged racketeering and RICO conspiracy.         CR 310, 311.

28

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1          At trial, the government presented testimony from approximately

2     28 witnesses, including undercover Special Agents of the Bureau of

3     Alcohol, Tobacco, Firearms, and Explosives (ATF), local law

4     enforcement officers, and other percipient witnesses to the charged

5     offenses.   Specifically, the government offered testimony from each

6     of the undercover ATF agents who had infiltrated the Mongols during

7     the Black Rain investigation.       Special Agents Daren Kozlowski, Greg

8     Gaioni, Paul D’Angelo, and John Carr all testified.          Retired Special

9     Agents William Queen, who worked undercover during Operation Ivan,
10    and Jay Dobyns also testified, as did numerous local law enforcement
11    officers, percipient witnesses, and victims of violent crimes
12    committed by the defendant and its members, including a person who
13    had been beaten unconscious by the Mongols and another who witnessed
14    the Mongols stab his friend to death.        See Witnesses Called at Trial,
15    dated December 13, 2018 (CR 312).
16         Retired Special Agent Queen specifically testified about the
17    Mongols having cut the scalp off a victim and thereafter displayed
18    the scalp on a Mongols banner.       A photograph of the scalp was

19    admitted into evidence.      The jury also watched surveillance videos of

20    numerous shootings and stabbings committed by Mongols members.            Those

21    included videos of Mongols members stabbing a victim in his face,

22    Mongols beating a man after they had knocked him unconscious in a

23    parking lot, and Mongols members chasing and shooting more victims.

24    Jurors saw the muzzle flash when Mongols shot the victims.            The jury

25    also heard testimony about Mongols members having shot law

26    enforcement officers and killed Officer Shaun Diamond.           It also heard

27    testimony from Mongols member Christopher Ablett, who bragged about

28    having murdered the president of the Hells Angels, by shooting and

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1     stabbing him on the street in San Francisco.         Defendant actually

2     identified some 50 witnesses for trial and presented testimony from

3     Mongols members, retired ATF agents, and persons it designated as

4     expert witnesses.     Defendant also compelled the appearance of several

5     Mongols members who then refused to testify and, instead invoked

6     their 5th Amendment right against self-incrimination.           See Witnesses

7     Called at Trial (noting witnesses who invoked their 5th Amendment

8     right against self-incrimination) (CR 312).

9          On December 13, 2018, the jury returned verdicts and convicted
10    defendant on all the counts charged, racketeering and RICO
11    conspiracy.    See Minutes, dated December 13, 2018 (CR 310).          On
12    January 11, 2019, the jury returned its findings on the forfeiture of
13    several categories of property, pursuant to the conviction on Count
14    Two of the FSI.    CR 350, 353.     The Court denied defendant’s previous
15    new trial motion on February 28, 2019.
16         Defendant filed its Notice of Appeal on May 29, 2019.            CA No.
17    19-50176 (CR 440, 441).      The United States filed its Notice of Appeal
18    on June 13, 2019.     CA 19-50190 (CR 453, 454).      The appeals have been

19    briefed and are scheduled for hearing on September 23, 2022.

20         C.    Defendant’s Current Motion for New Trial

21         Defendant filed this Motion for New Trial on December 10, 2021,

22    almost exactly three years after the verdict.         (CR 535).    It noticed

23    the hearing more than two months later, on February 28, 2022 (CR

24    535), and, even then, after two months and after the government filed

25    its Opposition, on February 14, 2022, defendant moved to delay the

26    hearing on its Motion for several months more, until June 6, 2022.

27    Defendant’s Motion for Continuance (CR 540).         Defendant claimed that

28

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1     it needed those months to “gather additional evidence and locate

2     witnesses.” Id.

3          In requesting that continuance, defendant also recognized that

4     its Motion for New Trial did not support a new trial or other relief.

5     Instead, defendant asserted that its “moving papers do not need to

6     prove their case before they have an opportunity to have a hearing.”

7     Motion for Continuance, at 4 (CR 540).         Even then, on May 23, 2022,

8     defendant filed a Reply brief that was incoherent, but again asserted

9     that it had no burden “to demonstrate anything until the evidentiary
10    hearing is finished.”     Defendant’s Reply, at 2 (CR 542).        Defendant
11    also claimed that it only needed to show “cause for the Court to
12    investigate.”    Id., at 7 (CR 542).
13         D.    The Hearings on Defendant’s Motion
14         On June 6, 2022, the Court conducted the first of several

15    evidentiary hearings and received testimony from Annie Yumiko

16    Santillan (“A. Santillan”).       See Reporter’s Transcript (“R.T.”),

17    dated June 6, 2022.     A. Santillan immediately refuted defendant’s

18    Motion and testified that she made recorded statements about her

19    husband, Santillan, because he had been unfaithful and was not sober.

20    A. Santillan testified repeatedly that she wanted to “hurt him and

21    destroy him.”    R.T., at 32:7-12.        She testified, “I would have said

22    anything to hurt him.”      Id.   A. Santillan also testified that she

23    knew of only three occasions that her husband had spoken with SA

24    Ciccone and that each of those was in public and with other Mongols

25    present.   R.T., at 40:1-18.      She stated that there were never any

26    private conversations.      Id.   Her testimony was:

27         Q:   You said that other Club members were with David on at
      least some of the occasions where you saw him conversing with Mr.
28    Ciccone.
                                            5
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1
           A:   No, I said they were always with him on any of the
2     conversations that he had with him.
3
            Q:    Okay, which –-
4
            A:    I never –- David was never alone.
5
      6/6/22 R.T., at 44:3-9.
6
            A. Santillan also repeatedly stated that she made her statements
7
      to hurt and “destroy” her husband in front of the other Mongols.
8
      6/6/22 R.T., at 52:13-22 (“The motive was to hurt him.           To destroy
9
      him –-.”; and “I was literally trying to destroy him.”).
10
            On June 28, 2022, A. Santillan again testified to the facts she
11
      had described on June 6, 2022.       See 6/28/22 R.T. Vol. 1.       Hence, she
12
      testified that, despite her recorded statement, she did not have any
13
      personal knowledge that Santillan was a “CI or a rat.”           6/28/22 R.T.
14
      Vol. I 45:1-22.     She testified that she had never spoken to SA
15
      Ciccone or “anyone from the government” and that anytime Santillan
16
      met with SA Ciccone or the ATF had been at Mongols events and in
17
      front of all the other Mongols, like National Runs.           Id.   She also
18
      testified that SA Ciccone would show up and talk with “whoever was in
19
      charge,” including Santillan, because he was the Mongols “national
20
      president.”    6/28/22 R.T. Vol. I 46:1-25.       She affirmed that any
21
      meeting was “never in private.”        Rather, it was “[a]lways public.”
22
      6/28/22 R.T.    Vol. I 47:5-21.     She repeated that there were no
23
      private meetings and stated “It’s always … done with members … in
24
      front of the clubhouse.      It was at National Runs … there was always
25
      brothers around.”     6/28/22 R.T. Vol. I 49:8-25.
26
            A. Santillan also testified that no one from the government or
27
      the ATF had ever assisted her or Santillan to avoid prosecution for
28

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1     any criminal conduct.      She specifically contradicted the

2     representations attached to defendant’s Motion.          6/28/22 R.T. Vol. I

3     52:14-55:15.    When asked if anyone from the government intervened

4     with the disposition of charges, she answered, “No.           No one.”    Id.

5     When questioned about defense counsel’s representations that the

6     Santillans had been allowed to “walk free” from prosecution, she

7     explicitly denied that and stated, “I would know because I got ‘em

8     out of jail, bailed ‘em.”       A. Santillan specifically testified, “I

9     know that we –- we got ‘em out of jail.         I own a bail bonds company
10    so he was bailed out.      There was no assistance.”      6/28/22 R.T. Vol. I
11    56:14-24.    She also specifically stated, contrary to defendant’s
12    representations, “he’s gone to court on all of those,” that Santillan
13    had been prosecuted and had been required “to pay fines and do
14    community service … we had to take a misdemeanor, and we had to do
15    community service.”      She testified repeatedly, “There was no
16    assistance.”    6/28/22 R.T. Vol. I 55:1-56:22.
17          Defendant next called Santillan, and Santillan also contradicted
18    each of the representations defense counsel had attached to

19    defendant’s Motion.      6/28/22 R.T. Vol. I 63:10.      Santillan responded

20    to claims that he had been meeting with SA Ciccone at Starbucks in

21    the mornings by saying, “That’s an absolute lie.”           6/28/22 R.T. Vol I

22    91:9-23.    Santillan also stated that he had elected not to testify at

23    trial because a senior Mongols member and “most of my cabinet were

24    against me testifying –- or any Mongols, for that matter.            We never

25    take the stand.” 1    6/28/22 R.T. Vol I 93:9-23.       Santillan stated that

26

27          1The record of Witnesses Called at Trial reflects that
      defendant sought to elicit testimony from at least four Mongols
28    members who refused to testify and invoked their 5th Amendment right
      against self-incrimination at trial. (CR 312).
                                       7
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1     he was against Roger Pinney testifying “[b]ecause he’s ‘out bad’ from

2     our club,” and that his testimony would have been “irrelevant.             It

3     wasn’t part of our trial, our case.”        6/28/22 R.T. Vol I 98:5-11.

4     Santillan stated that he did not want to testify, because “I don’t

5     want to self-incriminate about stuff I already knew about the club.”

6     6/28/22 R.T. Vol II 5:14-15.       He repeated his concern about self-

7     incrimination over “illegal activity that I may have been involved

8     with in the past.”     Santillan also stated that “Nobody wanted to

9     testify”:
10          Q.    He was on the witness list; was he not?
11         A.   You put him on the list. I didn’t. Joe, you put a hundred
      people on the list. I didn’t know half of them who they were.
12
      Nobody showed up.
13
           Q.   You didn’t put anybody on the witness list?           I did.    Isn’t
14    that right?

15         A.     Yeah, and I didn’t even know half the people you put on
      there.
16

17    6/28/22 R.T. Vol II 18:8-19:9. 2

18          Santillan later stated that “It was like pulling teeth trying to

19    get anybody on the stand,” that “[n]obody wanted to testify.             Why

20    would you?    … It’s the lifestyle.”      6/28/22 R.T. Vol II 27:25-28:6.

21    When asked about SA Ciccone being called to testify, Santillan

22    repeatedly told defense counsel, “You left him on the witness list.

23

24          2Santillan’s stated 5th Amendment concern was immediately
      demonstrated when the Court asked a question about the 2002 riot in
25    Laughlin, Nevada. In response, Santillan stated, “Somebody shot a
      gun behind me. I know who it was. I’m not going to say who it was,”
26    and the Court asked Santillan if he did not want to say based on a
      5th Amendment concern. 6/28/22 R.T. Vol II 25:20-25. The Court
27    later described the Court’s own concern about “the spectacle of you
      [Santillan] continually taking the Fifth Amendment in front of this
28    jury or prior and the breadth of the questions the Government would
      certainly ask you …” 9/7/22 R.T. Vol I 19:25-20:3.
                                       8
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1     You could have called him when we voted right before Christmas during

2     the break before we rested, including your daughter was part of –-

3     raising her hand not to badger him on the stand … Joe, you left him

4     on the witness list.      You could have called him with or without me.”

5     6/28/22 R.T. Vol II 28:14-20.       Santillan also testified that he never

6     spoke with Ciccone “other than public events, and it was brief with

7     brothers around me.”      6/28/22 R.T. Vol II 31:7-8.

8           The hearing resumed on June 29, 2022.        Santillan was then asked

9     for the first time, on cross-examination, whether he was an
10    informant, and he answered directly, “No, sir.”          6/29/22 R.T. Vol I
11    29:21-23.     Santillan also testified that retired Montebello Police
12    Officer Christopher Cervantes was not his “handler,” despite defense
13    counsel having represented that they “believed” he was.            See
14    Defendant’s Reply Brief, Ales Decl. ¶ 4 (CR 542).           Santillan also
15    testified that he brought police reports regarding his arrests and
16    charges against him, and that he had received “[z]ero assistance”
17    from the government on his criminal cases.         6/29/22 R.T. Vol I 30:4-
18    22.   He also restated his own and other Mongols’ concerns about self-

19    incrimination and acknowledged the fact that SA Ciccone had actually

20    been named on each of the witness lists filed by the defendant in the

21    case.      6/29/22 R.T. Vol I 31:19-32:25; see also, Defendant’s Witness

22    Lists, dated October 26, 2018, November 14, 2018, and November 27,

23    2018 (CR 222, 253 and 275).

24          Santillan specifically testified:

25         Q.   And when you referred to “inappropriate conduct,” is it
      fair to say that you meant you were never acting as an informant for
26    Agent Ciccone at that time?
27
            A.     That’s correct.
28
            Q.     Or at any time; is that fair to say?
                                          9
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1
            A.    That’s correct.
2
           Q.    And you were never acting as an informant for the ATF at
3
      any point?
4
            A.    Ever.
5
            Q.    Or any other federal or state agency?
6
            A.    Ever.
7

8     6/29/22 R.T. Vol I 33:16-34:1. 3

9           Santillan testified that he did not meet with SA Ciccone at

10    Starbucks, and that he had only run into Ciccone one time –- “[t]hen

11    that was it.”       6/29/22 R.T. Vol I 34:2-9.    He also testified that one

12    of the concerns for the defense in calling SA Ciccone as a witness

13    was that defense counsel would behave unprofessionally after having

14    claimed he wanted to “tear off his head and shit down his throat” –-

15    referring to retired Special Agent Ciccone.          6/29/22 R.T. Vol I 38:6-

16    12 (“Yeah.    ‘shit down his throat’ and berate ‘em, yes.”). 4

17    Santillan testified that defense counsel’s argument about the

18    Mongols’ war with the Hells Angels was counsel’s own “conspiracy

19    theory,” because the Mongols had “been at war with the Hells Angels

20    for four decades.”       6/29/22 R.T. Vol I 40:1-19.     He stated that SA

21    Ciccone’s testimony would have “put the last nail in the coffin for

22    the club … It wound not have helped.”         6/29/22 R.T. Vol I 45:10-13.

23

24

25         3 Santillan repeatedly testified that he was not an informant
      for the ATF or any other state or federal agency. 6/29/22 R.T. Vol I
26    37:13-17, 47:21-48:21 (stating that he never acted as an informant
      for ATF or any other federal or state law enforcement agency).
27
           4 Defense counsel found it appropriate to state that he had said
28    he wanted to “pop his [referring to SA Ciccone] eyeball and piss in
      his skull.” 6/29/22 R.T. Vol I 58:17-19.
                                      10
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1           Santillan repeatedly testified that he was never an agent of the

2     government.    6/29/22 R.T. Vol I 56:6-22 (“No, never.”).          He testified

3     that he never passed information to SA Ciccone or anyone for the

4     government about the trial.       6/29/22 R.T. Vol I 51:9-17 (“Absolutely

5     not.”).    He did not pass information to the government about

6     witnesses, witness lists or trial strategy.          6/29/22 R.T. Vol I

7     51:18-22 (“No.”), 54:8-18 (“No, I did not.”).          Also, Santillan

8     testified that he and his wife were not allowed to “walk free” from

9     charges of assault, weapons charges, and driving under the influence,
10    contrary to the representations defendant submitted.           6/29/22 R.T.
11    Vol I 52:5-17 (“Not true.”).
12          Santillan also testified about his conflicts with defense
13    counsel during the trial and that the conflict owed to the fact that
14    defense counsel had borrowed $35,000.00 from him and another Mongols
15    member, and counsel had given Santillan a check that “bounced,” so
16    that Santillan was “on the hook for that money.”          6/29/22 R.T. Vol II
17    14:11-23.    Santillan testified that he had brought the bounced checks
18    and noted that those checks had been submitted to the Court at the

19    end of the trial.     6/29/22 R.T. Vol II 15:1-12; see also, Statement

20    of Candor, dated May 16, 2019 (attaching bank checks for $5,000 and

21    $3,000) (CR 436).

22          He also testified that the evidence presented at trial against

23    the Mongols was “super strong” and specifically described one of the

24    stabbings that had been captured on surveillance video and played for

25    the jury as an example.      6/29/22 R.T. Vol II 16:4-17:10. Santillan

26    testified about his actual prior convictions and, again, testified

27    that he had not received assistance from the government on his

28    criminal cases.     6/29/22 R.T. Vol II 19:22-20:23.

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1           The Court next heard testimony from retired Special Agent John

2     Ciccone on June 29, 2022.       Defense counsel questioned SA Ciccone at

3     length about his career and training as a law enforcement agent.

4     Defense counsel asked Ciccone if he had been running “some type of

5     investigation” on Maravilla in April 2007.         Contrary to defense

6     counsel’s theory, the answer was “no” (6/29/22 R.T. Vol II 37:17-21),

7     and SA Ciccone repeatedly corrected the inaccuracies in defense

8     counsel’s questions.      Specifically, SA Ciccone corrected defense

9     counsel about the shooting at Laughlin, Nevada in 2002:
10          Q.    Did you have any operations, informants, or agents either
11    infiltrate or attempting to infiltrate the Hells Angels at the time?
12                THE COURT:    In 2002?
13                MR. YANNY:    2002.
14                THE WITNESS:    I did not.
15                THE COURT:    Okay.   Now ask him about the Mongols.
16    BY MR. YANNY:
17          Q.    What about the Mongols?
18          A.    No.

19    6/29/22 R.T. Vol II 48:14-24.

20          Defense counsel later asked the same thing again:

21          Q:    Did you have any undercovers in any other clubs besides the

22    Mongols at that time?

23          A:    We didn’t have any undercovers in the Mongols at that time.

24          …

25          Q:    So you had no agents infiltrating the Mongols or the Hells

26    Angels or the Vagos or any other Motorcycle Club at that time that

27    you were infiltrating?

28          A:    No.

                                            12
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1     6/29/22 R.T. Vol II 54:1-25.

2           Defense counsel asked the same thing again, later:

3           Q:     Well, were there times where you had undercovers in both

4     the Hells Angels and the Mongols simultaneously?

5           A:     I’ve never had that.

6     6/29/22 R.T. Vol II 56:5-7.

7           Defense counsel then made another request for a continuance,

8     prior to the hearing scheduled for July 22, 2022.           7/22/22 R.T. Vol I

9     96:8.      That request was denied, and the Court summarized SA Ciccone’s
10    testimony to have stated “that your contacts were public in nature;
11    that you’re contacting David Santillan because he’s the president of
12    the Mongols.     On those contacts, Santillan would always come out with
13    somebody else.”
14                 THE WITNESS: His – his security team.
15                 THE COURT:   Security.
16                 And whatever that was, on the indicative pieces of evidence
17    that I would examine would be his roll-up with the news reports –
18    female news reporter who apparently wants to cover the Mongols – and

19    there’s a brief interchange between you and Santillan.

20                 Is that typical?

21                 THE WITNESS:   Yeah.   And – and the other members that were

22    with ‘em.

23                 THE COURT:   Sure.

24    7/22/22 R.T. Vol I 48:8-25.

25          The Court specifically asked SA Ciccone if the events were all

26    public, and SA Ciccone answered, “Yes.         They’re at public events:

27    Meetings, parties, um, different size events, runs.”           7/22/22 R.T.

28    Vol I 48:8-25.     The Court also explained that the Court understood

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1     that there would be testimony from ATF (referring to ATF SSA Susan

2     Raichel) “that there were no formal documents, apparently, or

3     indication of any payments made to Santillan.          Is that correct?”; and

4     SA Ciccone answered, “Yes.”        7/22/22 R.T. Vol I 49:10-17.

5           Further:

6                 THE COURT:    Okay.

7                 And when you’re talking to Santillan, you said, basically,

8     to me a few moments ago, “Keep your people” –- you know – basically,

9     from committing violent acts and, basically, no issues; in other
10    words, stop the violence.
11                Is that correct?
12                THE WITNESS:    Yes.
13    7/22/22 R.T. Vol I 49:18-24; see also 52:6-14.
14          SA Ciccone testified that the tactic had been attempted with the
15    Hells Angels and possibly the Vagos, and he considered it to be
16    “effective for public safety –- and it was used with everybody that
17    we came in contact with.”       7/22/22 R.T. Vol I 72:7-73:6.
18          The Court also asked if there had been any formal discussions in

19    which SA Ciccone offered Santillan protection, and SA Ciccone

20    answered, “No.”     7/22/22 R.T. Vol I 50:7-12.       SA Ciccone also

21    testified that he did not have any conversation or receive any notice

22    from the defense that they were not going to call him as a witness

23    (7/22/22 R.T. Vol I 81:1-4) 5 and agreed with the Court’s

24    characterization that he had only a “random bump-in” encounter with

25    Santillan at the nearby Starbucks (7/22/22 R.T. Vol I 83:13-19).

26

27
            5SA Ciccone also testified, again, that Santillan did not pass
28    any trial information to him during the trial. 7/22/22 R.T. Vol III
      37:11-17.
                                      14
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1     Ciccone also testified that he did not have any involvement in the

2     disposition of criminal cases against Santillan (7/22/22 R.T. Vol I

3     89:7-16; and 7/22/22 R.T. Vol III 37:1-17), and the Court

4     subsequently noted, “I don’t see that he’s gotten a break” (7/22/22

5     R.T. Vol I 93:14-17).

6           Defense counsel then attempted to put forth another unsupported

7     claim that David Santillan was actually an “unindicted co-

8     conspirator” in another indictment.        7/22/22 R.T. Vol II 32:19-21

9     (“My point is, sir, I believe that David Santillan, the president of
10    the Mongols Motorcycle Club, is UICC 39.”).          The government then
11    produced the case agent, FBI SA Joseph Talamantez, and, contrary to
12    defense counsel’s assertion, SA Talamantez testified that “UICC 39”
13    was not David Santillan.      He also testified that David Santillan was
14    not “UICC 38” or any of the other UICCs in the indictment.            7/22/22
15    R.T. Vol II 39:20-44:10 (THE COURT: “Are any of the UICCs in this
16    Indictment David Santillan?”       THE WITNESS:    “No.”).
17          ATF Supervisory Special Agent Susan Raichel then testified that
18    she had reviewed the ATF database, which had records back to 2002,

19    and determined that “David Santillan has never been an informant for

20    ATF.”   She affirmed there was no record of him as a CI, and he had

21    never been a CI, as far back as 2002.         7/22/22 R.T. Vol III 63:7-12.

22          Defense counsel then stated his belief that Santillan was being

23    “handled” by Montebello Police Officer Christopher Cervantes.

24    7/22/22 R.T. Vol III 52:6-8.       The following Monday, July 25, 2022,

25    retired Officer Cervantes appeared, and the Court asked him, “Is

26    Santillan a rat?      A cooperator?    I’m asking you that:     Is Santillan a

27    cooperator?” and Cervantes answered, “No, sir.”          7/25/22 R.T. Vol I

28    16:1-6.    Further:

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1                 THE COURT:    This has one focus:     Is Santillan a government

2     informant?    That’s the focus.

3                 You can ask him if he paid him money.        All fair game. Okay?

4                 MR. YANNY:    I don’t think they did.

5                 THE COURT:    Well, ask him.

6     BY MR. YANNY:

7     Q.    Did you guys ever pay David Santillan?

8     A.    No.

9     7/25/22 R.T. Vol I 17:11-19.
10          Defense counsel asked Cervantes if Cervantes and SA Ciccone were
11    “protecting David [Santillan] in some capacity,” and Cervantes
12    answered, “No.”
13                THE COURT:    Let’s broaden that.
14                Any memory of the ATF, DEA, task force, um, any member of
15    any federal authority, to your knowledge, protecting him in some way?
16                THE WITNESS:     No, sir.
17    7/25/22 R.T. Vol III 19:19-20:3.
18          On August 25, 2022, defendant called Ralph Rocha, but Rocha

19    invoked his 5th Amendment rights and refused to testify.            8/25/22

20    R.T. Vol. I 5-6.     Defendant then called its co-counsel, Stephen

21    Stubbs, who claimed that Santillan had said he met multiple times

22    with SA Ciccone.     8/25/22 R.T. Vol. I 44:1-6.       Stubbs described two

23    incidents in 2017 and 2018, when he and other Mongols were present,

24    including the “Mother Chapter” (8/25/22 R.T. Vol. I 40:6-42::6), and

25    Stubbs testified that he was not aware of any agreements of “any kind

26    of cooperation allegedly between Santillan and ATF or any kind of

27    government agency.” (8/25/22 R.T. Vol. I 63:12-16).           Stubbs claimed

28    Santillan had embezzled money, and he also testified that defense

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1     counsel had borrowed money from Santillan, and that defense counsel

2     had “submitted a number of false statements” to the court and engaged

3     in a “dishonest scheme” to show that the defendant would not be able

4     to pay a fine at sentencing.       8/25/22 R.T. Vol. I 92:21-99:6; and

5     Statement of Candor (read into record) (CR 436).          Stubbs also

6     acknowledged that defense counsel had challenged his credibility,

7     accused him of falsifying documents, and acknowledged that Stubbs had

8     been censured by the Nevada State Bar.         8/25/22 R.T. Vol. II 8:1-

9     9:25.
10          Santillan testified again on September 7, 2022.          At that time,
11    the Court questioned Santillan, and he testified to the same facts as
12    he had previously, including one encounter with SA Ciccone at
13    Starbucks (9/7/22 R.T. Vol. I 17:9-16), and the fact that he never
14    worked as an informant, never received any payment or legal
15    protection, including from Montebello (9/7/22 R.T. Vol. I 18:24-
16    19:9).    Santillan testified that he had explained his reasoning for
17    why he did not want to testify, and the Court acknowledged the Court
18    would be concerned about “the spectacle of you continually taking the

19    Fifth Amendment in front of this jury or prior and the breadth of the

20    questions that the government would certainly ask you …”            9/7/22 R.T.

21    Vol. I 19:24-20:3.     SA Ciccone also testified again on September 7,

22    2022.    He stated that he was not asked to testify at the trial, and

23    he also testified again about public safety contacts with the

24    Mongols.    9/7/22 R.T. Vol. I 26:23-27:25.       Ciccone testified that to

25    his knowledge no local agencies had opened any investigation or used

26    Santillan as an informant, including Montebello, and he was not aware

27    of any cooperation with Santillan.         9/7/22 R.T. Vol. I 32:1-33:2.         In

28    response to defense counsel’s questions, SA Ciccone testified that he

                                            17
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1     had not threatened Santillan with “potential indictment for extortion

2     with La Eme” or discussed “cooperative extortion efforts.            9/7/22

3     R.T. Vol. I 78:16-21.

4           The Court then allowed defense counsel to question Santillan

5     again, and counsel immediately chose to question Santillan yet again

6     about the Mexican Mafia and counsel’s asserted belief that Santillan

7     was an unindicted co-conspirator in another case.           Santillan

8     testified:

9              You got together with her, and that’s why I got served right
            here, because you thought I was a rat on that case. And I’m not
10          a rat on that case. I told you that. And I’m not an unindicted
            co-conspirator either, and it was proven. The investigator told
11
            me they know who it is. And it’s not me. It was somebody
12          locked up in the county jail, April of 2014. I was not in the
            county jail … What does anything from Eme have to do with the
13          video, Joe? Nothing. Not a g*ddamn thing. So why start
            dragging it out –- dragging it out. Everybody’s testifying, I’m
14          not a f*cking rat. How much more are you going to drag it out
            it out? Seven more days? Come on, Joe. That hard up for
15          money? … You owe me $35,000. I paid your f*cking debt to my
16          club brother. I have proof, too, all of it. My club brothers
            know. I don’t know why they even have you here. You found a
17          way to monetize on the club and bring this frivolous motion.
            That’s what this is about. You have an axe to grind with me,
18          personally and Bobby D, because I embarrassed you and you know.
19     9/7/22 R.T. Vol. I 100:1-101:14.
20          Santillan also repeatedly denied ever having provided
21    information to SA Ciccone.       9/7/22 R.T. Vol. I 102:15-16; 106:13-16
22    (“I did not give any information.”).          He denied that he had embezzled
23    money.   9/7/22 R.T. Vol. I 122:11-22 (“That’s incorrect.           Wrong.
24    Wrong.   Show me the paperwork.”).         Santillan also told defense
25    counsel, “You’re the thief.       You welsh on your promises and your
26    loans, you deadbeat.”      9/7/22 R.T. Vol. I 123:2-4.       He also denied
27    having conversations with SA Ciccone in Laughlin, Nevada (9/7/22 R.T.
28

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1     Vol. I 124:16-21), and the Court then asked, specifically, about

2     defense counsel’s theory about Laughlin, Nevada in 2002:

3                  THE COURT: So Ciccone doesn’t have anything to do with
            stirring this up then?
4
                  THE WITNESS:    Not at all.
5

6                  THE COURT: Then why was this defense floated in front
            of jury? You had to be part of this group discussion?
7
                   THE WITNESS: Because Mr. Conspiracy entrepreneur over
8           here wants to lay it out thick and make things more than they
            really are. I had an issue with him ever since he started this
9           whole thing – these conspiracy theories that never – He never
10          proved anything. They were never factual. They were just his
            theories … based on talking to old biker dudes.
11
      9/7/22 R.T. Vol. I 126:2-127:3.
12
             The government then presented testimony from Sergeant Omar
13
      Rodriguez of the Montebello Police Department, Detective Ivania
14
      Farias of the Los Angeles County Sheriff’s Department and Sergeant
15
      Jerrod Lewis of the Long Beach Police Department.           They testified
16
      that they had searched the records of their departments and found no
17
      records of any agreements or cooperation for Santillan.            9/7/22 R.T.
18
      Vol. I 129:6-130:7.      The government also submitted that ATF SSA Susan
19
      Raichel had again checked the ATF database of confidential informant
20
      records and again reported the same result, that David Santillan has
21
      never been an ATF informant from 2002 to 2022.          Declaration of Susan
22
      Raichel (Exhibit 20).
23
      IV.    ARGUMENT
24
                            DEFENDANT HAS NOT MET ITS BURDEN
25
             Ninth Circuit law requires that a defendant seeking a new trial
26
      on the ground of newly discovered evidence must show: (1) evidence
27
      that is newly discovered; (2) that the failure to discover the
28

                                            19
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1     alleged evidence sooner was not due to a lack of diligence; (3) the

2     evidence was material to trial issues; (4) the evidence was not

3     cumulative or merely impeaching; and (5) a new trial, if granted,

4     would probably result in acquittal.        United States v. George, 420

5     F.3d 991, 1000 (9th Cir. 2005) (new trial motion denied under Rule

6     33(b)(1)); citing, United States v. Kulczyk, 931 F.2d 542, 549 (9th

7     Cir. 1991) (holding “evidence that would merely impeach a witness

8     cannot support a motion for new trial.”) 6.

9           Defendant did not make that showing when it filed its Motion.
10    It submitted only hearsay statements and unsupported declarations
11    from defense counsel, which is not sufficient for a new trial motion.
12    United States v. Felix, 425 F.2d 240, 242 (9th Cir. 1970) (new trial
13    motion denied where “evidence” submitted “was principally hearsay and
14    therefore inadmissible.”); Wilke v. United States, 422 F.2d 1298,
15    1299, n. 1 (9th Cir. 1970) (per curiam) (“This information was of
16    course hearsay and as such provided no support for a new trial
17    motion[.]”); United States v. Chapman, 851 F.3d 363, 382 (5th Cir.
18    2017) (representations from defense counsel were inadmissible hearsay

19    and a motion for new trial may not be based on inadmissible

20    evidence.”).    Defendant, nonetheless, claimed that it did not need to

21    make any showing prior to a hearing.        Specifically, when it moved for

22    a continuance on February 14, 2022, defendant stated that its “moving

23    papers do not need to prove their case before they have an

24    opportunity to have a hearing.”        Defendant’s Motion for Continuance

25    (CR 540).    Then, in its Reply on May 23, 2022, defendant claimed,

26

27          6Rule 33(b)(1) provides that the court may not grant a motion
      for a new trial while an appeal is pending. Fed. R. Crim. Proc.
28    33(b)(1). The court can deny a motion, but it cannot grant a motion
      until the appellate court remands the case.
                                      20
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1     again, that it had no burden “to demonstrate anything until the

2     evidentiary hearing is finished” and claimed that it only needed to

3     show “cause for the Court to investigate.”         Reply, at 7 (CR 542).

4     That is not the law, but, ultimately, defendant’s very publicized

5     claims were not true.

6           The government submitted that the claims were not true, and the

7     Court has now heard testimony and received evidence from numerous

8     state and federal law enforcement officers, from the ATF, FBI,

9     Montebello Police Department, Los Angeles County Sheriffs Department,
10    Long Beach Police Department, as well as Santillan and A. Santillan.
11    Even though defendant has the burden of proof, the testimony from the
12    witnesses was that Santillan was not a confidential informant, and he
13    did not provide trial information to the government.           Defendant’s
14    claims were never true, and defendant, therefore, did not meet its
15    burden under Rule 33(b)(1).
16          1.    Defendant Has Not Shown Newly Discovered Evidence.
17          Defendant did not show any newly discovered evidence to support

18    a motion for new trial.      His claims about Santillan were false, and

19    the witnesses testified that they were false.          Hence, his Motion

20    fails.

21          As discussed, witnesses repeatedly testified, and often in

22    response to questions directed by the Court, that Santillan was not a

23    confidential informant and did not provide information to the

24    government at trial.      7/25/22 R.T. Vol I 17:11-19 (THE COURT:         “This

25    has one focus:     Is Santillan a government informant?        That’s the

26    focus.”).    A. Santillan, Santillan, retired ATF Special Agent John

27    Ciccone, retired Montebello Police Officer Christopher Cervantes, ATF

28    Supervisory Special Agent (“SSA”) Susan Raichel all testified that

                                            21
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1     this was not true.     SSA Raichel, Montebello Police Sergeant Omar

2     Rodriguez, Los Angeles County Sheriff Deputy Ivania Farias, and Long

3     Beach Police Department Sergeant Jarrod Lewis also testified that

4     they conducted searches, and there are no records of any agreements

5     with Santillan.     FBI SA Joey Talamantez testified, as well, that

6     Santillan was not “UICC 38,” “UICC 39” or any other “unindicted co-

7     conspirator” in his case.       Defendant’s claims about Santillan were

8     not true and, therefore, do not show new evidence.

9           In response to defendant’s allegations, the witnesses also
10    testified and offered documentation to show that Santillan did not
11    receive any assistance from the government for any of the criminal
12    cases against him.     Defendant did not respond to that testimony, even
13    after the Court advised about the conclusion.          See 7/22/22 R.T. Vol I
14    93:14-17 {“I don’t see that he’s gotten a break”).           Witnesses also
15    testified that trial information was not passed to the government.
16    Defendant did not meet its burden to show newly discovered evidence.
17          Defense counsel’s questions and witnesses about the Mexican
18    Mafia and other issues also would not be newly discovered evidence.

19    First, those matters did not appear relevant to the matter raised,

20    and second, the matters related to events that would have occurred,

21    if ever, years before, in 2009 or 2010.         Similarly, testimony about

22    arguments within the defense team or votes about witnesses to call

23    would also have involved events before or, at the latest, during the

24    trial in 2018, and, therefore, also not new evidence.           Even law

25    enforcement contacts at Mongols runs were described as incidents that

26    occurred before, in some instances, years before trial.            They were

27    also in the presence of many other members –- even hundreds of other

28    members and, also, would not be “newly discovered evidence.”

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1           Ultimately, defendant did not show any newly discovered

2     evidence.

3           2.    Defendant also Did Not Show that It was Diligent.

4           The second element on a motion for new trial requires the

5     defendant to show that its failure to discover evidence was not due

6     to a lack of diligence.      United States v. George, 420 F.3d at 1000

7     (lack of diligence and documents were not material and merely

8     impeachment); United States v. Kulczyk, 931 F.2d at 549 (Lack of

9     diligence where defendant failed to inform the court about inability
10    to locate witnesses and evidence was merely impeachment).            In this
11    case, defendant’s representations about Santillan were untrue and,
12    therefore, do not meet any elements for the Motion.
13          3.    Defendant Did Not Show New Evidence that was Material to
                  Trial Issues, Not Cumulative or Merely Impeaching.
14
            The third and fourth elements require defendant to show that new
15
      evidence that would have been material to trial issues, and that it
16
      would not be cumulative or merely impeaching.          United States v.
17
      George, 420 F.3d at 1000 (evidence did not support defendant’s motion
18
      for a new trial where the evidence was not material and merely
19
      impeachment evidence).      Again, defendant did not show any newly
20
      discovered evidence, so his Motion also did not show these elements.
21
            4.    Defendant Did Not Show that a New Trial would Probably
22
                  Result in Acquittal.
23
            Defendant also did not show that a new trial would probably
24
      result in an acquittal.      United States v. George, 420 F.3d at 1000;
25
      United States v. Kulczyk, 931 F.2d at 549.         The Motion fails on that
26
      basis as well.
27
            The jury convicted the defendant on both counts charged,
28
      racketeering and RICO conspiracy. As discussed, it did so after
                                      23
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1     weeks of testimony from many witnesses about the unending crimes this

2     defendant, and crimes that the defendant and its members continue to

3     commit to this day.      At trial, the jury heard testimony from retired

4     Special Agent Daren Kozlowski, who infiltrated the Mongols as an

5     undercover officer during Operation Black Rain.          The jury also heard

6     testimony from each of the other undercover ATF Special Agents, Greg

7     Gaioni, Paul D’Angelo, and John Carr.         In addition, the jury heard

8     extensive testimony from retired ATF Special Agent William “Billy”

9     Queen, who infiltrated the Mongols during Operation Ivan, and retired
10    Special Agent Jay Dobyns.       This testimony included descriptions of
11    murders, shootings, stabbings, an actual scalping (supported by
12    photographic evidence), riots, narcotics transactions, and attacks on
13    police officers.     The jury also watched numerous videos of shootings
14    and stabbings committed by Mongols members and associates.            It heard
15    Christopher Ablett testify in detail about how he killed the
16    president of the Hells Angels in San Francisco, and testimony about a
17    man who was beaten to death with a pool cue in a bar in Lancaster,
18    and another who was dragged out of a bar in Merced, California and

19    stabbed in the parking lot, where he died.         The jury watched

20    surveillance video of a Mongol member slashing a victim’s face, and

21    another man who was ambushed leaving a restaurant, beaten unconscious

22    and kicked in his head as he lay helpless at the feet of Mongols

23    members and associates.      The jury saw and heard members of

24    defendant’s leadership, bragging of the gang’s reputation for

25    violence and mayhem, and the importance of expanding the scope of

26    that reputation throughout the world.         It saw methamphetamine, guns,

27    knives, and bullets sold and used by the gang.          It learned that the

28    Mongols have an actual skull and crossbones murder patch, and it saw

                                            24
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1     the murder patch and heard testimony that the patch was awarded to

2     members who killed for the organization.         It saw their “wings”

3     patches and “Respect Few Fear None” patch.         It heard about

4     racketeering and conspiracy many, many times over, and, ultimately,

5     the jury convicted the defendant of both racketeering and conspiracy

6     to commit racketeering, because it saw and heard direct evidence from

7     numerous witnesses –- including witnesses who had been called by

8     defendant -- that showed defendant had been committing those crimes

9     for decades and continued to commit them.
10          Santillan was correct when he said that the evidence at trial

11    was “super strong.”      6/29/22 R.T. Vol II 16:4-17:10.       It was.    A new

12    trial would be even more so, because it would contain evidence of

13    more murders, more shootings, more drugs, and just many more crimes.

14    It would include more, because the Mongols do not stop.            They attack

15    unaware people outside bars and restaurants and beat, shoot, and stab

16    them.   That was shown at trial, and it still happens.          They shoot

17    police officers.     They kidnap and murder women.       They deal drugs.

18    Like Santillan testified, “It’s the lifestyle.”          6/28/22 R.T. Vol II

19    27:25-28:6.    It is what they do.      There were more federal convictions

20    last week in Tennessee.      United States v. Frazier, et al., CR 17-130.

21          Ultimately, and especially based on the evidence in this case,

22    it cannot be said that a new trial would probably result in an

23    acquittal.    Defendant has shown nothing to oppose that conclusion,

24    and the Motion fails on this basis as well.

25    V.    CONCLUSION

26          The United States, thus, respectfully submits that defendant has

27    not met its burden to support a new trial, and the Motion must be

28    denied.

                                            25
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